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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                          )
                                                   )
      v.                                           )
                                                   )      Case No. 21-mj-000231
RAECHEL GENCO                                      )
                                                   )
                              Defendant.           )
                                                   )

                                           ORDER

      This Court, having considered the Motion for Pro Hac Vice Admission of BARBARA

W. PALMER, and good cause having been shown, it is this     7th           day of    January

      , 2022,

      ORDERED that the Motion for Pro Hac Vice Admission is GRANTED; and it is

      FURTHER ORDERED that BARBARA W. PALEMR shall be permitted to appear and

      be heard on behalf of the Defendant in the above-captioned matter without the presence

      of local counsel. Furthermore, Ms. Palmer is permitted to execute all pleadings in this

      case without the necessity of Attorney Allen H. Orenberg being required to also execute

      all pleadings in this case.



      SO ORDERED.
                                                   Digitally signed by
                                                   G. Michael Harvey
                                                   Date: 2022.01.07
                                                   15:00:55 -05'00'
                                    _____________________________
                                    G. Michael Harvey
                                    United States Magistrate Judge
